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                       UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ADAM DOBSON                       :
                                  :
               Plaintiff,         :            NO.    1:16-cv-01958
                                  :
          v.                      :
                                  :
THE MILTON HERSHEY SCHOOL, et al. :            JURY TRIAL DEMANDED
                                  :
               Defendants.        :

                                       ORDER

      AND NOW this ___________ day of ________________, 2018, upon consideration of

Defendants’ Motion for Judgment on the Pleadings, and Plaintiff’s Response in Opposition

thereto, it is hereby ORDERED and DECREED that Defendants’ Motion is DENIED.

      AND IT IS SO ORDERED.



                                               ________________________________
                                               Chief Judge Christopher C. Conner
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                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

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               Plaintiff,         :                 NO.    1:16-cv-01958
                                  :
          v.                      :
                                  :
THE MILTON HERSHEY SCHOOL, et al. :                 JURY TRIAL DEMANDED
                                  :
               Defendants.        :

    PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION FOR
                     JUDGMENT ON THE PLEADINGS

       Plaintiff hereby incorporates by reference the attached Memorandum of Law as if fully

set forth at length herein requesting denial of Defendants’ Motion for Judgment on the Pleadings.



                                                    WEISBERG LAW


                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    David A. Berlin, Esquire
                                                    Attorneys for Plaintiffs
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                           UNITED STATES DISTRICT COURT
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               Plaintiff,         :                         NO.     1:16-cv-01958
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                                  :
               Defendants.        :

        MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S RESPONSE IN
    OPPOSITION TO DEFENDANTS’ MOTION FOR JUDGMENT ON THE PLEADINGS

I.      Standard

        A. Fowler re Twombly and Iqbal1

        Reversing the District Court’s 12(b)(6) dismissal upon claims of insufficient specificity,

the Third Circuit held the United State Supreme Court in Twombly and Iqbal (in accord with

Phillips) merely requires that the Complaint “set out ‘sufficient factual matter’ to show that the

claim is sufficiently plausible… [allowing] the reasonable inference that the defendant is liable

for the misconduct alleged.” Fowler v. UPML Shadyside - - F. 3d - -, 2009 WL 2501662 (C.A.3

(Pa) 2009) (quoting Ashcroft v. Iqbal, 129 S.Ct. 1955 (2009)); Bell Atlantic Corp. v. Twombly,

550 U.S. 544 (2007); Phillips v. County of Allegheny, 515 F.3d 224, 230 (C.A.3 2008).

        Fowler reiterated the appropriate standard, as elucidated in Phillips, remaining: “courts

[must] accept all factual allegations as true, construe the Complaint in the light most favorable to

the plaintiff, and determine whether, under any reasonable reading of the Complaint, the plaintiff

may be entitled to relief.” Fowler, supra (quoting Phillips, at 233) (emphasis added). “Although




1
 See generally, "Simplified Pleading, Meaningful Days in Court, and Trials On The Merits: Reflections On The
Deformation of Federal Procedure," New York University Law Review, Vol. 88, p. 286 (April 2013).
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Fowler’s Complaint is not as rich with detail as some might prefer, it need only set forth

sufficient facts to support plausible claims.” 2 Fowler (citing Twombly, at 564, n.8).

        “Even post-Twombly, it has been noted that a plaintiff is not required to establish the

elements of a prima facie case but instead, need only put forth allegations that ‘raise a reasonable

expectation that discovery will reveal evidence of the necessary element.’” Fowler, supra;

(quoting Graff v. Subbiah Cardiology Associates, Ltd., 2008 WL 231 2671 (W.D. Pa. 2008)

Phillips, at 234. Thus, courts should not dismiss a complaint for failure to state a claim if it

“contain[s] either direct or inferential allegations respecting all the material elements necessary

to sustain recovery under some viable legal theory.” Montville Twp. v. Woodmont Builders

LLC, No. 05-4888, 2007 WL 2261567, at *2 (3d Cir. 2007) (quoting Twombly, at 1969). In

fact, a Plaintiff need not plead any causes of action (merely facts with request for relief). See 2

James Wm. Moore et al., Moore's Federal Practice P 8.04[3].

        “Under the Federal Rules of Civil Procedure, an evidentiary standard is not a proper

measure of whether a complaint fails to state a claim.” Fowler, supra “…[S]tandards of

pleadings are not the same as standards of proof.” Id. “[A] well-pleaded complaint may proceed

even if it strikes a savvy judge that actual proof of those facts alleged is improbable and that a

recovery is very remote and unlikely.” Id. (quoting Twombly, at 556).




                   2
                       Mr. Sharp:   It’s a conclusory fact.

                   Justice Breyer: Well, it’s a fact. They sat in their view --

                   Mr. Sharp:       It’s a conclusion.

                   Justice Breyer: All right. I don’t know what a conclusory fact is as opposed
                                   to a regular fact.

Dart Cherokee Basin Operating Co. v. Owens, 13-719 (S.Ct. October 7, 2014) (excerpt from transcript of oral
argument).
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       B. Amended Pleading

       A Plaintiff should be provided an opportunity to file an Amended Complaint if it appears

that the deficiencies can be corrected. Twombly, supra.; See, 2A J. Moore, Moore’s Federal

Practice ¶12.07 [2.-5], P.12-99 (2d ed. 1994); accord, In re Spree.com Corp., 2001 WL 1518242

(Bankr. E.D. Pa. 2001). Under this liberal pleading standard, courts should generally grant

plaintiffs leave to amend their claims before dismissing a complaint that is merely deficient. See

Grayson v. Mayview State Hosp., 293 F.3d 103, 108 (3d Cir. 2002); Shane v. Fauver, 213 F.3d

113, 116-17 (3d Cir. 2000).

       The Court should freely give leave to amend a Complaint “when justice so requires.”

FRCP 15(a)(2); Fowler, supra. (“we note that the District Court inexplicably foreclosed Fowler

from an opportunity to amend her Complaint so as to provide further specifics…” Though the

deadline for amended pleadings had not yet expired, the District Court dismissed Fowler’s

Complaint with prejudice in error) (emphasis added). The Court should grant Plaintiffs leave to

amend their Complaint unless futile or prejudicial, even if not requested. Adams v Gould, Inc.,

739 F.2d 858, 868-870 (C.A.3 1984) (reversing district court denial of motion to amend a

complaint to assert a new legal theory); Arthur V. Maersk, Inc., 434 F.3d 196, 204-2017 (C.A.3

2006) (reversing district court denial of motion to amend to add a new party approximately one

year after initiation); Lorenz v. CSX Corp., 1 F.3d 1406, 1414 (C.A.3 1993) (finding no

prejudice three years after action and two years after complaint was amended for second time);

Estate of Frank P. Lagano v. Bergen County Prosecutor's Office, No. 13-3232 (C.A.3. 2014)

(citing Alston v. Parker, 363 F.3d 229, 235 (C.A.3 2004)) (reversing a district court for not sua

sponte granting leave to amend).
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         “Prejudice” is often used as a misnomer – prejudice is not defined by the requirement of

ongoing litigation or defense but instead results from an inability to defend. Lorenz, supra.

"Futility" invokes the 12(b)(6) standard upon the district court's notice of the complaint's

deficiencies. Davis v. Abington Memorial Hospital, 765 F.3d 236, 244-245 (C.A.3 2014) (citing

Krantz v. Prudential Investments Fund Management, LLC, 144 F.3d 140, 144 (C.A.3 2002).

         Conclusion: Standard

         When applying the correct standard, Plaintiff’s Complaint is sufficiently specific and

Defendant’s Motion should be denied. In the alternative, Plaintiff should be granted leave to

amend as this Honorable Court is, respectfully, directed to allow.

II.      Argument

      A. Plaintiff has standing under the ADA; his claim is redressable

         Defendants claim that Plaintiff has no standing under the ADA because he has graduated

from high school – false.

         Defendants compare this case to Mirabella v. William Penn Charter School, 2017 WL

1062460 (E.D.Pa 2017). In Mirabella, the plaintiff alleged ongoing emotional distress and “not

being admitted to colleges to which he had a reasonable expectation of being admitted.” Id.

         In Mirabella, the court granted summary judgment for the defendants and reasoned that

although it was sympathetic to the plaintiff’s injuries, he had failed to offer any explanation or

actual evidence as to how injunctive relief under the ADA could redress those injuries. Id.

         This case is different. First, this case is at the pleadings stage. Further here, Plaintiff’s

First Amended Complaint (FAC) alleges students enrolled in MHS are eligible to receive up to

$80,000 in post-secondary scholarships, earning credits for each year successfully completed at

the School… However, students expelled from the School prior to graduating – like Adam are
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not eligible to receive any of this scholarship money. (FAC ¶109). Without access to any

scholarship money, Adam has had to support himself and has been unable to afford and attend

collage… (FAC ¶110). Plaintiff also alleged that he had over eight years of good conduct and

academic success at MHS. (FAC ¶111).

        At the pleadings stage, this Honorable Court respectfully must accept these allegations as

true: Plaintiff was eligible for scholarships, would have received scholarships, and would have

attended college but for MHS’ discriminatory conduct. Fowler, supra.

        This allegation is different from Mirabella where a student had a general expectation of

admittance with no other evidence. As alleged here, MHS is the direct and only cause of Adam

not receiving a scholarship.

        Defendants also misconstrue this allegation as a claim for money damages. This is

wrong. The allegation is that MHS prevented Plaintiff’s access to post-secondary education.

This Honorable Court respectfully can compel MHS to make Plaintiff scholarship eligible via

injunctive relief.

        Plaintiff has standing under ADA.

        Finally, although not pleaded but wishing to be candid with this Honorable Court, Adam

was expelled about a week before he was scheduled to take the SATs. After the filing of the

First Amended Complaint (filed by prior counsel), Plaintiff ultimately received loans and now

attends community college. Adam must pay back his loans in the future and has worked hard to

get back on track.

        If Plaintiff were scholarship eligible, Plaintiff would take the SATs now, apply to a

higher ranked institution, transfer the college credits he has received so-far, and use his

scholarship towards attending a new school (which would only be affordable with the
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scholarship that Adam should have received). As a matter of equity, Plaintiff deserves the

opportunity to take the SATs and apply to the best colleges he can afford just like every other

student. Plaintiff was very unjustly robbed of that opportunity through MHS’ egregious conduct.

       Defendants will no doubt interpret this requested relief as a financial award. It is not –

this is about access to post-secondary education.

   B. Negligence Per Se

       As argued above, Plaintiff’s claim under the ADA forms the basis of his claim for

Negligence Per Se.

   C. Concessions

       Plaintiff respectfully withdraws his claims under the FHA and FLSA



                                                     WEISBERG LAW


                                                     /s/ Matthew B. Weisberg
                                                     Matthew B. Weisberg, Esquire
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                                                     Attorneys for Plaintiffs
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                                  :
               Defendants.        :

                                CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 10 th day of September 2018,

a true and correct copy of the foregoing Plaintiff’s Response in Opposition to Defendants’

Motion for Judgment on the Pleadings was served via ECF upon the following parties:

                                   Jarad W. Handelman, Esq.
                                     Elliott Greenleaf, P.C.
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                                                    WEISBERG LAW

                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    Attorney for Plaintiff
